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11380 EAST SM|TH ROAD LLC
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RE: PoliCy 144632-748841 49-1 8

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P.O. BOX 30660 - LANS|NG, MlCH|GAN 48909-8160

Owners |nsurance Company

 

Remember. you can view your policy. pay your bill or
change your paper|ess options any time on|ine, at
www.auto-owners.com. lf you have not already
enroi|ed your poiicy, you may do so using policy number
144632-74384149-18 and Personal lD Code (P|D) 161
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Your agency's phone number is 303-331-0100.

Thank you for selecting Auto-Owners |nsurance Group to serve your insurance needs! Fee| free to contact your
independent Auto-Owners agent with questions you may have.

Auto-Owners and its affiliate companies offer a variety of programs. each of which has its own eligibility requirements.
coverages and rates. |n addition, Auto-Owners also offers many billing options. Please take this opportunity to review
your insurance needs with your Auto-Owners agent, and discuss which company. program. and billing option may be

most appropriate for you.

Auto-Owners lnsurance Company was formed in 1916. The Auto-Owners lnsurance Group is comprised of live property
and casualty companies and a life insurance company. Our A++ (Superior) rating by A.M. Best Company signifies that
we have the financial strength to provide the insurance protection you need_

-- $erving Our Potr°cyhotders and Agents $r°nce 1916 ~

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Agér;t§`y Scr}e 21393$756-00 Policy Number 144532-74884149

 

59526 (8-13]

Policy Number: 144632-74884149
lnsurance Company: OWNERS INSURANCE COMPANY
Renewal Elfective Date: 05-23-2018

Dear Policyholder,

Thank you for choosing Auto-Owners lnsurance- Your policy is set to renew on the renewal effective date shown above.
This letter gives you advance notice of changes to your premium. deductibles or coverage:

Your renewal premium will be: 514-449-00 OR $13.017.00 |F PAID |N FULL-

(Calcu|ated changes are based on your current policy infonnation- Your actual premium could vary if the information on
file is incon'ect or if your needs and renewal coverages change.)

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l:l Other

 

 

 

This notice is for informational purposes only. Your policy contains the specilic terms and conditions of coverage.
|f you have any questions regarding your poHcy or this notice. please contact your Auto-Owners Insurance agency.
RIVERBEND |NSURANCE LLC
50 S STEELE ST STE 504

DENVER CO 80209-281 0
303-331 -01 00

59526 (8-13) Page 1 of 1

' - - I ' 106 22/18 Eil'[€l’€dIOG/ZZ/J_S 09140123 PG_ 617 Of 30
Ag§@$§dgeg 13ng M DOC# 108 F'|ed / Paricy uumher gimaz-usaaug

 

59390 (1-15)

NOT|FICAT|ON OF POSSIBLE CHANGES lN COVERAGE FOR
TERRORISM

Dear Policyholder:

`lhe Tenorism Risk insurance Act Gncluding ensuing Congressiona| actions pursuant to the Act) will expire on December
31 , 2020 unless the Federa| govemment extends the Act. What this means to you is the following:

‘l. Subject to policy terms and conditions, the enclosed policy will provide insurance coverage for certified acts of ter-
rorism as defined in the Act only until December 31 . 2020.

2. A conditional endorsement entitled. Conditiona| Exdusion Of Terrorism Involving Nudear, Biologica| Or Chemica|
Terrorism (Relating To Disposition Of Federal Terrorism Risk lnsurance Act) is enclosed. This conditional endorse-
ment will only apply if the Act is not extended or if the Act is revised to increase statutory deductib|es, decrease the
federal governmean share in potential losses above the statutory deductibles, drange the |eve|s, terms or conditions
of coverage and we are no longer required to make terrorism coverage available and elect not to do so. lt will not
apply ii the Act is simply extended_

3. The conditional endorsement will provide coverage for an incident of terrorism pursuant to the terms and conditions of
the policy only if the incident does not involve nudear. biological or chemin materia|.

4. A premium charge for the conditional endorsement will be applied eh‘ective January 1, 2021. The premium will be pro
rated for the remainder of the policy term and is one-half of the current premium charge appearing in the Declara-
tions for TERROR|SM - CERT|F|ED ACTS. However. it will only be made if the Tenorism Risk lnsurance Act {includ-
ing ensuing Congressional actions pursuant to the Act) is not extend. Revised Dedaralions will be mailed to you after
January 1. 2021.

5. |f the Act is extended without any revision, the enclosed policy wm continue to provide coverage for certified acts of
ten'orism. The conditional endorsement will not be activated and the changes in coverage or premium referenced
above will not apply.

6. lf the Act is extended with revisions or is replaced, and we are required or elect to continue to offer coverage for certi-
tied acts of terrorism, we may amend this policy in accordance with the provisions of the revised Act or its replace-
ment.

This notice is for informational purposes onty.

|f you have any questions concerning your policy or this notice. please contact your Auto-Owners agency.

593§|] (1-15) Page 1 d 1

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Agency o e 2-0`|76-00 Po|icy Number 144632-74884149

 

64288 (8-1 7)

NOT|CE OF CHANGE lN POLlCY TERMS
PROPERT‘( PLUS DEDUCTIBLE ELIMINATION

Dear Policyholder.

Your policy has a Property P|us Coverage Pacl<age and all associated policy forms. Eifective with this renewa|. the
deductib|es for specified coverages within your F'roperty P|us Package have been eliminated The location level
deductible currently present will continue to apply. Your policy documents have been adjusted as they relate to this
change.

This notice is for informational purposes only. This notice provides no coverage and it must not be construed to replace
or modify any provisions of your policy or endorsements Your policy contains the specilic tenns. limits and conditions of
coverage. and supersedes this notice.

lf you have any questions. please contact your Auto-Owners Agency.

anna rem Page 1 or t

 

64297 [11-17)

Colorado
NOT|CE OF CHANGE |N POLlC¥ TERMS
PROPERT‘( PLUS COVERAGE PACKAGE

Dear Policyholder.

The Ordinance or Law coverage limit provided through the Property F'ius Coverage package has decreased with this
renewal

Please note that this change constitutes a reduction in coverage.
This notice is for informational purposes only. Your policy contains the specilic terms and conditions of the coverage.

Please review your policy Declarations carefully. lf you have any questions regarding your policy or this notice please
contact your Auto-Owners lnsurance agency.

64297 (11-17) page 1 oil

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owners Page 1
issued 03-23-2018

leuRANcE coMPANY TArLoRED PRoTEc'noN Poucv DEcLARATroNs
6101 ANACAPR| BLvD.. LANSING, Mr 43917-3999
~=ENCY RrvERBEND leuRANcE LLC Renewat Etfecrive 05-13-2013

32-017¢'>00 rvll<T TERR 086 303-331-0100 muc`, NuMBER 144632_7““149_18
trauma 11380 EAST smer rtvo LLc company use 7446-€0-1405

00 nM oAlLEY

Company Poiicy Term
mss 11380 leTH no Br|i 12:01 a.m. 12:01 a.m.
to
AURORA CO 8001&1405 05-23-2018 05-23-2019

 

 

 

in consideration ct payment ol' the premian shown beinw, this policy is renewed Please altad'l this Dedarations and attachments to your po&cy. ifyau
have amc questions please oonsu|t_wi_th_your agent

 

 

  

 

 

55039 (1 1-67)
Businass Dcsr:ripl.ion: Lro - Plastic Mfg
Ent.ity: Limited Liab Corp
Prograrn: lndustriailProcessing
TH|S POLlCY CONS|STS OF THE FOLLOWING COVERAGE PART(S): PREM|UM
CON|MERC|AL PROPERTY COVERAGE $10.153.00
COMMERC|AL GENERAL t_iABiL|TY COVERAGE $4,296.00
ToTAL $14~449.00
PA|D IN FULL DlSCDUN`l' $1.432.00
TOTAL POLlCY PREM|UM lF PAID |N FULL $13,017.00
TH|S l'll.EMlUMl |rlAY BE SUBJECT TO ADJUSTHENT.
The Paid in Fuil Discount does not apply to fixed fees statutory charges or minimum premiums

 

 

 

Forrns that apply to all coverage part(s} shown above (except garage iiabiiity, dealers blanket, commercial automobiie. if applicabie):
ILt'.lt'.'ll'ir ill-851 55003 {0?-12} 59390 {01-1.5}

Countersigned By

 

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Page 2
Owners lns. Co. issued 03-23-2018
merrcv R|VERBEND |NSURANCE LLC Company POLlCY NUMBER 144632-74884148-18
32-0176~00 MI<T TERR 086 Bili 74~46-€0-1405
INSURED 11380 EAST SM|TH ROAD LLC Tem'r 05-23-2018 to 05-23-2019

 

54104 {07-87)

 

  

55198 (12-10)

 

The coverages and limits below apply separately to each location or sublocation that sustains a loss to covered property and is
dsignated in the Commercial Property Coverage Dec|arations. No deductible applies to the below Property P|us Coverages.

 

 

COVERAGE LlMlT
ACCOUNTS RECE|VABLE $200,00|]
BA|LEES $15.000
$10.000 PER lTEM
BUS|NESS lNCOME 8¢ EXTRA EXPENSE lNCLUD|NG $150,000

NEWLY ACQU|RED LOCAT|ONS

DEBR|S REMOVAL $100.000
ELECTRON|C DATA PROCESS|NG EQU|PMENT $100.000
EMPLOYEE DISHONESTY $50.000
FlNE ARTS. COLLECT|BLES AND MEMORAB|LIA $50,000
$10.000 PER lTEM
FlRE DEPARTMENT SERV|CE CHARGE $25,000
FORGERY AND ALTERAT|ON $50.000
MONEY AND SECUR|T|ES lNSlDE PREM|SES 550,000
MONEY AND SECUR|T|ES OUTSlDE PREMISES $50,000
NEWLY ACQU|RED BUSINESS PERSONAL PROPERW $500.000 FOR 90 DAYS
NE'WLY ACQU|RED OR CONSTRUCTED PROPERTY $1.000,000 FOR 90 DAYS
ORD|NANCE OR LAW SEE COMMERC|AL PROPERTY
DECLARATIONS
OUTDOOR PROPERTY $25.000
TREES. SHRUBS OR PLANTS $1.000 PER lTEM
RADIO OR TELEV|S|ON ANTENNAS $20,000
PERSONAL EFFECTS AND PROPERTY OF O`l'HERS $50.000
POLLUTANT CLEAN UP AND REMOVAL $'IDU.COO
PROPERTY lN TRANSlT $100,000
PROPERTY OFF PREM|SES $100,000
REFR|GERATED PRODUCTS $25.000
SALESPERSDN'S SAMPLES 525,000
UTlLlTY SERVICES FA|LURE $150.000
VALUABLE PAPERS AND RECORDS ON PREMISES $150.000
VALUABLE PAPERS AND RECORDS OFF PREMISES $25.000
WATER BACK~UP FROM SEWERS OR DRA|NS $50,000

 

 

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Page 3

Owners lns. Co. issued 03-23-2018
manor RlVERBEND lNSURANCE LLC Company POLlCY NUMBER 144632-74884149-18

32-0176-00 MKT TERR 086 Biil 74»46-€0-1405
lNSl-lREl-`l 11380 EAST SM|TH ROAD LLC Terrn 05-23-2018 to 05-23-2019
Fom'rs that apply to this coverage part
64004 (12-10) 54198 ila-101 54334 i12-10} 64020 (12-101 54189 t12-10)
54186 l12-101 54218 (03-13} 5421? ios-131 54216 103-131 54214 ios-131
54221 ila-101 54220 los-001 54219 l12-10i 54330 i03-13} 54339 (03-13i
64010 (12-10} 64000 (12-10}
Coverages Provided

insurance at the described premises apph‘es only for coverages for which a limit of insurance is shown.

 

wcm@~""m§ylwwwm ` _"

Locatlon: 11380 Smith Rd, Auroral CO 80010-1406

Occupied As: Lro-Piastic Mfg

Secured interested Parties: See Attached Schedule

Rating lnfonnation

Territor§p 010

Program: lndustriaifProcessing
Protection Ciass: 02

Speciiic Rate ~ Buiiding: 0.033

County: Adams

Construction: Mas N-C

Class Code: 5500

 

Speciiic Rate ~ Business income W.~'Ee & Rental Value: 0.033

 

 

COVERAGE CO|NSURANCE DEDUCT|BLE LIMIT RATE PREM|UM
BU|LDING $6.258,900
Causes of Loss
Basic Group l 100% $10,000 0.019| $1.`|89.00
Basic Group ll 100% $10.000 0.062 $3,881 .00
Windsi:ormiHai| 100% 3% lnduded
Spet.'.ial 100% $10.000 0.022 51 .37 7.00
111eit 100% $10.000 lrrduded
OPTlONAL COVERAGE
inflation Guard Factor Building 1.029
Repiacement Cost
Equipment Breakdown $10.000 See Fonn 54843 $127.00
Property Pius Coverage Package None See 55198 (12-10} 5984_00
Tier: Premier
ORDlNANCE CiR LAW
Coverage A-Undamaged Portion $10.000 lnci in Bidg Limit lnduded
Coverage B-Demoiition $10.000 $20,000 included
Coverage C-increased Cos¢ $10.000 $20.000 lnduded

 

 

 

 

 

 

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Page 4
Owners ins. Co. issued 03-23-2018
mer¢cv RIVERBEND lNSURANCE LLC Company POLlCY NUMBER 144632-74084149-18
32-0176-00 MKT TERR 086 Bili 74-46-€0-1405
lNS'-'RED 11380 EAST SM|TH ROAD LLC Tem't 05-23-2018 to 05-23-2019
COVERAGE COINSURANCE DEDUCTIBLE LlMIT RATE FREM|UM
BUS|NESS lNCOME W!EE & RENTAL VALUE $325.000
Causes of Loss
Basic Group i $0 0.058 5189.00
Basic Group ll $0 0.476 $1.547.00
special $0 0.0941 5306.00
Theit $0 lnduded
OP`|'|ONAL COVERAGE
Monihiy Limit of indemnity (fraciion) 1!3
Equipment Breakdown 50 See Forrn 54843 $42.00
BUS|NESS lNCOME WlEE & RENTAL VALUE
OrdlLaw-tnc Period Restoration $0 ind in Bidg Limit $410.00
Forms that apply to this building:
54835 {0'?-08} IL0003 lO'?-OZ]' IL0169 (02-93) ILOU].'F ill-851 59350 l01-151
59319 l03-15) 64224 (01-16} 64233 102-161 CP0090 (07-88} 64000 l12-101'
64013 i12-101 64010 (12-10] 54843 i12-10i 64020 (12-10} 64004 i12-101
54585 i12-10} 59526 ios-131 54311 luz-usl 64055 l12-10} 59390 tul-lsi
COMMERC|AL PROPERTY COVERAGE - LOCAT|ON 0001 SUMMARY PREM|UM
TERRORISM - CERT|F|ED ACTS SEE FORM: 59350, 54835. 59390 $101.00
LOCATlDN 0001 310.153.00

 

 

Secured interested Parties andlor Additional interested parties
Appiies to LodBicig(s):

0001)'001

ABW REO'S LLC

1720 5 Beiiaire St Ste 1100
Denver. CO 80222
interest Loss Payable

Appiies to LodB|dg(s):

0001M01

ABW LEND|NG LLC

1720 S Beiiaire St Ste 1100
Denver. CO 80222
interest Loss Payah|e

Applies to LoclBidg(s):

0001!001

NAPA PARTNERS LLC
1720 5 Beliaire St Ste 1100
Derlver, CO 80222
interest Loss Payab|e

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Page 5
Owners lns. Co. issued 03-23-2018

ricech RIVERBEND lNSURANCE LLC Company POLlCY NUHBER 144632-74884149-18
32-0176-00 MI{T TERR 085 Bili 74-46-€0-1405

'NSVRED 11380 EAST SM|TH ROAD LLC Tet'm 05-23-2018 to 05-23-2019

 

Applies to LodBidg(s):

0001 f001

PMW RETIREMENT iNVESTMENTS LLC
4950 S ‘r'osemile St~FZ #103

Greenwood Viiiage, CO 80111

interest Loss Payabie

Appiies to LodB|dg(s}:

0001!001

AMER|CAN SAV|NGS LlFE
lNSURANCE CO

935 E Main 51#100

Loarl #Har170629

Mesa. AZ 85203

interest Morigagee

55040 (11-87)

  

 

 

 

 

COVERAGE LlMlTS ClF lNSURANCE
General Aggregate $2.000,000
(Other Than Products~Compieted Operations]
Products-Comp|eted Operations Aggregale $2.000,000
Personai injury and Advertising injury $1,000,000
Each Occurrence $1,000.000
COMMERC|AL GENERAL LiABILITY PLUS ENDORSEMENT
Damage to Premises Rented to You $300.000 Any Clne Premises
(Frre. Lightning, Explosion. Smoite or Water Damage)
Medical Payments $10,000 Any One Person
Hired Auto & Non-Owned Aulo $1.000.000 Each Occurlence
E)¢panded Coverage Detaiis See Form:

Extended Watercrafl

Persona| injury Extension

Broadened Suppiemeniary Payments

Broadened i<nowiedge Of Occurrence

Additiona| Products~Compiei:ed Operations Aggregaie
Blanket Adciitiona! insured ~ Lessor of Leased Equipment
Bianket Additiona| insured - Managers or Lessors of Premises
Newly Fonned or Acquired Organiz.ations Extension

Blanitet Waiver of Suhrogaiion

Twice the "General Aggregaie Limit", shown above, is provided at no additional charge for each 12 month period in
accordance with form 55300.

 

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Page 6

Ownersins.Co. issued 03-23-2018
manor R|VERBENDiNSURANCE LLC Company POLlCY NUMBER 144632-74884149-18

32-0176-00 MKT TERR 086 Bili 74-46-€0-1405
NS'JREU 11380 EAST SMiT|-i ROAD LLC Term 05-23-2018 to 05-23-2019
AUDIT TYPE: Non-Audited
Fon'ns that apply to this coverage:
55405 lO'F-OB} 59350 (01-15]' 55146 l06-04l 55091 llO-OB} IL0021 107-021
55296 109-091 55300 i0'i'-05) IL001'I ill-851 55513 ll]i.-lll.]l 555'?6 {06-131
55592 l02-14l 5563'? l09-14l 55'118 ill-151 59319 i03~15} 59390 l01-15]

 

Locailot‘l: 11380 Smilh Rd. Aurora. CO 80010-1406
Terrltory: 001

 

County: Adams

 

 

 

 

 

 

 

 

 

 

CLASSIF|CAHON CODE SUBLlNE PREM|UM BAS|S RATE PREM|UM
Commercia| Genera| Liabiiity P|us Endorsement 00501 PrernlOp Prem
lnduded At 7.5% Ol The Premises Operation Premium Prenqu lnduded lnduded lnduded
Buiidings Or Premises - Bank Or Ofiice - Mercant§e Or 61217 Area Ead1 1000
Manufaciuring- Mainiained By The insured (Lessor‘s PremlOp 80.788 52.202 $4.217.00
Risk Only) (For-Prolit) Prod!Comp Op 80.788 .441 $36.00
COMMERC|AL GENERAL LlABiLITY COVERAGE - LOCATION 0001 SUMMARY PRE|¢||UM
TERRORISM - CERTiF|ED ACTS SEE FORM: 59350. 55405. 59390 $43.00
LOCATION 0001 $4,296.00

 

CaS 2 8- - Bi\/| DOC#:J_OS Filed:06/22/18 Eniered:06/22/1809:40:23 PageZB Oi 30
Agency grade 21392|§;6-00 Policy Number 144632-74884149

 

54835 (7-08)

THIS ENDORSEMENT CHANGES THE POLlCY. PLEASE READ lT CAREFULLY.

COND|T|ONAL EXCLUS|ON OF TERROR|SM
lNVOLVlNG NUCLEAR, BlOLOGlCAL OR CHEM|CAL
TERROR|SM (RELAT|NG TO DlSPOSlTlON OF FEDERAL

TERROR|SM RlSK INSURANCE ACT)

This endorsement modifies insurance provided under the foilowing:

COMMERC|AL PROPERTY COVERAGE PART

A. Applicability Of This Endorsement 3. tf this endorsement does NDT become appli-
cable, then any terrorism endorsement ai-
ready endorsed to this poiicy, that addresses
“oertified acts of terrorism", will remain in
effect However, if the Program is renewed.
extended or otherwise continued in effect
with revisions that change the level or terms
or conditions of coverage, and we are re-
quired to offer you the revised coverage or to
provide the revised coverage to those who
previously accepted coverage under the
Program. then we will take the appropriate
steps in response to the federal require-
ments.

1. The provisions of this endorsement will
apply if and when one of the following
situations occurs:

a. The federal Terrorism Risk insurance
program ("Program"), established by the
Terrorism Risk insurance Act of 2002 (in-
cluding ensuing Congressional actions
pursuant to the Act), terminates; or

b. The Program is renewed, extended or
otherwise continued in effect:

(1) With revisions that increase insurers' B. The following definition is added and applies under
statutory percentage deductible or this endorsement wherever the term terrorism is
decrease the federal governments enclosed in quotation marks.
statutory percentage share in poten- "Terrorism" means activities against persons. or-
tial terrorism losses above such de- ganizations or property of any nature:
ductii:r|e, or that results in a change in
the level or terms or conditions of 1.
coverage; and

That involve the following or preparation for the

foliowing:

(2) We are not required by the program a. Use or threat of force or violence; or
to make terrorism coverage available

to you and elect not to do so. b. Commission or threat of a dangerous act; or
2. When this endorsement becomes applicable c. Commission or threath an act that inter-
in accordance with the terms of A.1.a. or feres with or disrupts an electronic, com-
A.1.i:r., above, it supersedes any terrorism munication, information. or mechanical
endorsement already endorsed to this policy system; and
that addresses °'certified acts of terrorism".
includes copyrighted material of insurance Services Oliice. lnc., with its pennission.
54835 (7-08) Copyright |SO Properiies. lnc., 2004 Page 1 of 2

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2. When one or both of the following applies:

a. The effect is to intimidate or coerce a gov-
ernment or the civilian population or any
segments thereof. or to disrupt any segment
of the economy: or

b. lt appears that the intent is to intimidate or
coerce a government or the civilian popu-
lation or to further politica|. ideologica|,
religious, social or economic objectives or to
express (or express opposition to) a philos-
ophy or ideology.

C. The following exclusion is added:
Exclusion Of "Terrorism"

We will not pay for loss or damage caused directly
or indirectly by "termrism“. including action in hinder-
ing or defending against an actual or expected
incident of “terrorisrn". Such loss or damage is ex-
cluded regardless of any other cause or event that
contributes concurrently or in any sequence to the
loss. This exclusion applies only when one or more
of the following are attributed to an incident of
|Ite"oris'nll:

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Policy Nurnher 144632-74884149

1. The "tenorism“ is carried out by means of the
dispersal or application of radioactive materia|.
or through the use of a nuclear weapon or
device that involves or produces a nuclear
reaction. nuclear radiation or radioactive
contamination:

2. Radioactive material is released. and it appears
that one purpose of the “ten'orism" was to re-
lease such materia|;

3. The "terrorism" is carried out by means of the
dispersal or application of pathogenic or
poisonous biological or chemical materia|s; or

4. Pathogenic or poisonous biological or chemical
materials are released. and it appears that one
purpose of the "terrorism" was to release such
materials

Multiple incidents of “ten'orism" whid\ occur within a
72-hour period and appear to be carried out in
concert or to have a related purpose or common
leadership will be deemed to be one incident
regardless of whether this endorsement was in
effect during the entirety of that time period or not.

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54835 (7-08) Copyright 150 Properties. lnc., 2004 Page 2 of 2

 

CaS 8-10965-TB|\/| DOC#: 108 Filed: 06/22/18 Entei‘ed: 06/22/18 09: 401 23 PageZ? Of 30
AgencyS Ceo e 32-0176-00 Policy Number 144632 -74884149
55405 (7-08)

TH|S ENDORSEMENT CHANGES THE POLlCY. PLEASE READ lT CAREFULLY.

COND|T|ONAL EXCLUS|ON OF TERROR|SM
lNVOLVING NUCLEAR, BlOLOGlCAL OR CHEM|CAL
TERROR|SM (RELAT|NG TO DlSPOSlTlON OF FEDERAL
TERROR|SM RlSK lNSURANCE ACT)

This endorsement modifies insurance provided under the following:

COMMERC|AL GENERAL L|ABIL|TY COVERAGE PART

LlQUOR LlAB|L|TY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART
RA|LROAD PROTECT|VE LlABlL|TY COVERAGE PART

A. App|icability Of This Endorsement endorsement already endorsed to this policy
that addresses "certilied acts of terrorism" .
1. The provisions of this endorsement will apply

if and when one of the following situations 3. if this endorsement does NOT become appli-
occurs: cable, then any terrorism endorsement al-
ready endorsed to this policy, that addresses
a. The federal Terrorism Risk insurance Fro- "certilied acts of terrorism". will remain in
gram ("Program"), established by the Ter- effect i-lowever, if the Program is renewed,
rorism Risk insurance Act of 2002 (in- attended or otherwise condoned in effect
cluding ensuing Congressional actions with revisions that change the level or terms
pursuant to the Act), terminates; or or conditions of coverage, and we are re-
quired to offer you the revised coverage or to
b. The Program is renewed, extended or oth- provide revised coverage to those who pre-
erwise continued in effect: viously accepted coverage under the Pro-
gram, then we will take the appropriate steps
(1) With revisions that increase insurers' in response to the federal requirements
statutory percentage deductible or de-
crease the federal govemment's stat- B. The following definition is added and applies under
utory percentage share in potential this endorsement wherever the term ten'orism is
terrorism losses above such deduct- enclosed in quotation marks.
ib|e, or that results in a change in the
level or terms or conditions of cover- "i'errorism" means activities against persons. or-
age; and ganizations or property of any nature:
(2) We are not required by the Program 1. That involve the following or preparation for the
to make terrorism coverage available foilowing:
to you and elect not to do so.

a. Use or threat of force or violence: or
2. When this endorsement becomes applicable
in accordance with the terms of A.'i.a. or b. Commission or threat of a dangerous act; or
A.1.b., above, it supersedes any terrorism

lndudes copyrighted material of insurance Services Ofiice, lnc., with its pennission.
55405 (7-08) Copyright iSO Properties. inc, 2004 Page 1 of 2

CaSe218-10965-TB|\/| DOC#2 108 Filed2 06/22/18 Entei‘ed206/22/18 09240223 PageZS Of 30

Agency Code 32-0176-00 Po|icy Number 144632-74884149

c. Commission or threat of an act that inter- injury or damage. This exclusion applies only when
feres with or dismpts an electronicl corn- one or more of the following are attributed to an ind-
munication, infonnaiion, or mechanical dent of "terrorism":
system; and

1. The "terrorism" is carried out by means of the
2. When one or both of the following applies: dispersal or application of radioactive materia|.
or through the use of a nuclear weapon or

a. The effect is to intimidate or coerce a device that involves or produces a nuclear
government or the civilian population or any reaction. nuclear radiation or radioactive
segments thereof, or to disrupt any segment contamination;

of the economy; or
2. Radioactive material is reieased. and it appears

b. it appears that the intent is to intimidate or that one purpose of the “'terrorism‘l was to rei-
coerce a government or the civilian popu- ease such materiai;
|ation, or to further pofrtica|. ideologica|.
religious. social or economic objectives or to 3. The "tenorism" is carried out by means of the
express (or express opposition to} a philo- dispersal or application of pathogenic or poi-
sophy or ideology. sonous biological or chemical materials: or
C. The following exclusion is added: 4. Paihogenic or poisonous biological or chemical
materials are released. and it appears that one
Exclusion Of “Terrorism" purpose of the “ten'orism" was to release such
We will not pay for "bodi|y injury". “property dam- materials
age", "personai injury" or "advertising injury" caused
directly or indirectly by "terrorism". including action in Multiple incidents of "tenorism" which occur within a
hindering or defending against an actual or expected 72-h0ur period and appear to be carried out in
incident of “ten'orism“. Aii "bodiiy injury", "property concert or to have a related purpose or common
damage“. "personai injury" or "advertising injury" is leadership will be deemed to be one incidentl
excluded regardless of any other cause or event that regardless of whether this endorsement was in
contributes concurrently or in any sequence to such effect during the entirety of that time period or not.

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Agency Co e 32~0176-00 Policy Number 144632-74884149
59350(1-15)

CAP ON LOSSES FROM CERT|FIED ACTS OF TERROR|SM

AND
lMPORTANT lNFORMAT|ON REGARD|NG TERROR|SM R|SK
lNSURANCE COVERAGE
lt is agreed:
1. Wrth respect to any one or more certified acts of terrorism, we will not pay any amounts for which we are not respon-

3.

sibte because of the application of any provision which results in a cap on our liability for payments for terrorism
losses in accordance with the terms of the federal Terrorism Risk insurance Act of 2002 (rncluding ensuing Congres-
sional actions pursuant to the Act).

Ceriiiied act of terrorism means any act certified by the Secretary of the Treasury, in consultation with:

a. the Secretary of Homeland Security: and
b. the Attorney Genera| of the United States

to be an act of terrorism as defined and in accordance with the federal Terrorism Risk insurance Act of 2002 dnclud-
ing ensuing Congressional actions pursuant to the Act).

Under the federal Terrorism Risk Act of 2002 Gncluding ensuing Congressional actions pursuant to the Act) a terrorist
act may be certilied:

a. if the aggregate covered commercial property and casualty insurance losses resulting from the terrorist act ex-
ceed $5 miiion: and

b. (1) if the act of terrorism is:
a) a violent act; or
b) an act that is dangerous to human life. property or infrastructure: and
(2) if the act is committed:
a) by an individual or `mdividua|s as part of an effort to coerce the civilian population of the United States; or

b) to influence the policy or affect the conduct of the United States government by coercion.

A|l other policy terms and conditions apply.

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Agency Cor:|e 32-0176-00 Po|icy Number 144632-74884149

lMPORTANT INFORMATlON REGARD|NG TERROR|SM RlSK
lNSURANCE COVERAGE

The Terrorism Risk lnsurance Act of 2002 was signed into law on November 26, 2002. The Act (inciuding ensuing Con-
gressional actions pursuant to the Act) defines an act of tenorism, to mean any act that is certified by the Secretary of the
Treasury. in consultation with the Secretary of Homeland Security and the Attomey Genera| of the United States to be (r]
an act of terrorism: (r`r} to be a viotent act or an act that is dangerous to human frfe, property or infrastructure; (EH to have
resulted in damage within the United States or outside the United States in the case of certain air carriers or vessels or
the premises of a United States mission: and (rv) to have been committed by an individual or individuals as part of an ef-
fort to coerce the civilian population of the United States or to influence the policy or affect the conduct of the United
States government by coercion.

Subiect to the policy terms and conditions. this policy provides insurance coverage for acts of tenorism as defined in the
Act.

Any coverage for certain commercial lines of property and casualty insurance provided by your policy for losses caused
by certified acts of tenorism are partially paid by the federal government under a formula established by federal law. Un-
der this fonnula. the government will reimburse us for 85% of such covered losses that exceed the statutory deductible
paid by us. However. beginning .lanuary 1. 2016 the share wi| decrease 1% per calendar year until it equals 80%. You
shoutd also know that in the event aggregate insured losses exceed $100 billion during any year the Act is in ef-
fect, then the federal government and participating United States insurers that have met their insurer deductible
shall not be liable for the payment of any portion of that amount of the loss that exceeds $100 billion. ln the event
that aggregate insured losses exceed $100 billion annually, no additional claims will be paid by the federal gov-
ernment or insurers. This formula is currently effective through December 31 , 2020 unless extended.

The premium charge, if any, for this coverage is shown separately on the attached Declarations page. ln the event of a
certilied act of tenorism, future policies also may include a government assessed terrorism loss risk-spreading premium in
accordance with the provisions of the Act.

Please contact us if you would like to reject coverage for certified acts of terrorism-

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